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 2              UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
 3      UNITED STATES OF AMERICA,
 4                                                              Case No. CR07-5656 JKA
                              Plaintiff,
 5                                                       ORDER RE: ALLEGATIONS OF
                       v.                                VIOLATION OF CONDITIONS OF
 6                                                       SUPERVISION BY UNITED STATES
        THERON PARKER,                                   PROBATION OFFICE
 7                            Defendant.
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10   THIS MATTER comes on for hearing on the Petition of the United States Probation Office alleging
     that the defendant violated the conditions of supervision as set forth in said Petition.
11   The plaintiff appears through Special/Assistant United States Attorney, JAMES OESTERLE, and U.S.
12   Probation Officer, MICHAEL MARKHAM;                                ;
     The defendant appears personally and represented by counsel, PAULA OLSON;
13   The defendant has been advised of (a) the alleged violation(s); (b) the right to a hearing; and (c) the
14   maximum sanctions if found to be in violation of supervision.

15   The defendant has acknowledge his right to a hearing on the merits, voluntarily waived that hearing
     and acknowledged violating the conditions of supervision as alleged in Violation No. (1) committing the
16   crime of Assault on or about July 26, 2008; and the court having dismissed Violation No. (2) at the
     request of the Government.
17   Accordingly, the court finds the defendant to have violated the conditions of probation, and hereby
18   schedules a dispostion hearing as set forth below:

19                                 Date:          February 26, 2009
                                   Time:          3:00 P.M.
20   The clerks shall direct copies of this order to counsel for the United States, to counsel for the defendant,
21   the United States Marshal and to the United States Probation Office and/or Pretrial Services Office.

22                                                        December 16, 2008.

23                                                        _/s/ J. Kelley Arnold________________
24                                                        J. Kelley Arnold, U.S. Magistrate Judge

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     ORDER
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